L105 09: 56M S° FROIPAS KE CaPHay Crit Porat Oo FIG MACS Page Lott ose pero

UNITED STATES DISTRICT COURT

 

 

 

 

 

 

 

 

 

2
WESTERN DISTRICT OF WASHINGTON

3 AT TACOMA

, - |

5] UNITED STATES OF AMERICA,

GASE NUMBER CRO2-571SRBL
6 Plaintiff,
: ORDER RETURNING PASSPORT

1 Vv.

3| ROBERT R KEPPEL, . LOL MU SU) ULE A VN A

9 Defendant. {UPR AD UO) ARUN TN UN
10 02-C'R-05719-ORD
il _ Co as
12 lt appears from the court record that the above-named defandant was sentenced on
13|| January 31, 2003, A satisfaction of Monetary Imposition was filed on May 27, 2004, The
14 defendant posted his passport with the Clerk as a requirement for his release on bond, The
15 || Passport should be returned as this case has been concluded.
16 IT S$ ORDERED that the passport be returned directly to the Defendant Keppel’s
17 || Attomey, Michelle R Burrows, '
18
19 DATED this a9 day of , 2005.
20
24 es’ Magistrate Judge
22 | Presented by:
23
2e| Gh (ah Oe

e er, Depu er’
25 Oo ,
26 Received by:
27
Attorney Michelle R Burraws

 

ORDER RETURNING PASSPORT
Pane - 7

 

 
